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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                    Central District
                                                    __________       of California
                                                                  District of __________

                         Ross Cornell,                                 )
                                                                       )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                            Civil Action No. 5:22-cv-00789 JWH (SHKx)
                                                                       )
                                                                       )
         Office of the District Attorney, County of                    )
          Riverside and Does 1-100, inclusive,                         )
                                                                       )
                           Defendant(s)                                )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)            Office of the District Attorney, County of Riverside
                                              3960 Orange St, Riverside, CA 92501




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Ross Cornell
                                           P.O. Box 1989 #305
                                           Big Bear Lake, CA 92315
                                           (562) 612-1708



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT


Date:               5/9/2022
                                                                                            Signature of Clerk or Dep
                                                                                                                  Deputy Clerk
